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 5
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 6   KAREL SPIKES
 7
 8
                               UNITED STATES DISTRICT COURT
 9
                   SOUTHERN DISTRICT OF CALIFORNIA
10
     KAREL SPIKES,                      Case No.: '18CV2564 AJB NLS
11
                  Plaintiff,
12                                                     CIVIL COMPLAINT
     vs.
13
   ALEXANDER W. BROWN and SUMIKO           DEMAND FOR JURY TRIAL
14 BROWN,  dba  GROVERS     TAVERN;
   SUZANNE B. LEIF, Trustee of LEIF TRUST;
15 and DOES 1 through 10, Inclusive,
16                Defendants.

17
18
19
20
           Plaintiff, KAREL SPIKES (hereinafter referred to as "Plaintiff"), files his cause

21
     of action against Defendants ALEXANDER W. BROWN and SUMIKO BROWN,

22
     dba GROVERS TAVERN (“GROVERS TAVERN”); SUZANNE B. LEIF, Trustee

23
     of LEIF TRUST(“LEIF TRUST”); and DOES 1 through 10, Inclusive, and would

24
     show unto the Court the following:

25
                                               I.

26
                                 JURISDICTION AND VENUE

27
           1.     Plaintiff brings this action on behalf of himself as a person with a

28
     disability and as a private attorney general under California law to enforce important
     rights of all similarly situated disabled persons. At all times stated herein, KAREL
                                                                             Civil Complaint
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 1   SPIKES acted as a private attorney general by and through his attorneys to enforce
 2   the Code of Federal Regulations and California law to ensure Grovers Tavern is
 3   accessible not only for himself, but for other persons with disabilities.
 4                                               I.
 5                             JURISDICTION AND VENUE
 6          1.    This Court has original jurisdiction of this civil action pursuant to 28
 7   USC Section 1331, 28 USC Sections 1343(a)(3) and 1343(a)(4) for claims arising
 8   under the Americans with Disabilities Act of 1990, 42 USC Sections 12101, et seq.
 9   and the Court's supplemental jurisdiction, 28 USC Section 1367.
10          2.    Venue in this Court is proper pursuant to 28 USC Sections 1391(b) and
11   (c).
12          3.    Pursuant to 28 USC Section 1367(a), Plaintiff shall assert all causes of
13   action based on state law, as plead in this complaint, under the supplemental
14   jurisdiction of the federal court. All the causes of action based on federal law and
15   those based on state law, as herein stated, arose from a common nuclei of operative
16   facts. That is, Plaintiff was denied equal access to Defendants' facilities, goods,
17   and/or services in violation of both federal and state laws and/or was injured due to
18   violations of federal and state access laws. The state actions of Plaintiff are so related
19   to the federal actions that they form part of the same case or controversy. The actions
20   would ordinarily be expected to be tried in one judicial proceeding. Plaintiff also
21   brings this action as a private attorney general under California law to enforce
22   important rights of all similarly situated disabled persons. At all times stated herein,
23   KAREL SPIKES acted as a private attorney general by and through his attorneys to
24   enforce the Code of Federal Regulations and California law to ensure the public
25   accommodation and appurtenances are accessible not only for himself, but for other
26   persons with disabilities.
27
28


                                                                               Civil Complaint
                                                 2                            and Jury Demand
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 1                                               II.
 2                                     THE PARTIES
 3         4.     Defendants are, and at all times mentioned herein were, individuals,
 4   businesses or corporations, partnerships, or franchises organized and existing and/or
 5   doing business under the laws of the State of California. Defendants are lessors
 6   and/or lessees of real property and as such lease, lease to, own and/or operate a
 7   tavern and restaurant located at 3315 Buena Vista Way, Lemon Grove, California,
 8   91942 (hereinafter "the SUBJECT PROPERTY"). Plaintiff is informed and believes
 9   and thereon alleges that Defendant GROVERS TAVERN, is and at all times
10   mentioned herein was, the owner, lessor or lessee of the subject property and/or the
11   owner and/or operator of the subject real property and/or facility operating as located
12   at the subject property. Defendant GROVERS TAVERN is a fictiously named entity
13   which operates as a tavern and sells alcohol and other food products to the public and
14   is a place of public accommodation.
15         5.     Plaintiff is informed and believes and thereon alleges that defendant
16   LEIF TRUST is a fee owner of the real property and the facility which is the subject
17   of this action.
18         6.     Defendants DOES 1 through 10 were at all times relevant herein,
19   property owners, subsidiaries, successors, heirs, parent companies, employers,
20   employees, agents, corporate officers, managers, principals and/or representatives of
21   LEIF TRUST and/or GROVERS TAVERN. Plaintiff is ignorant of the true names
22   and capacities of Defendants sued herein as DOES 1 through 10, inclusive, and
23   therefore sues these Defendants by such fictitious names. Plaintiff will pray leave of
24   the court to amend this complaint to allege the true names and capacities when
25   ascertained. LEIF TRUST, GROVERS TAVERN, and DOES 1 through 10 are herein
26   collectively referred to as "Defendants."
27         7.     Plaintiff is informed and believes, and thereon alleges, that Defendants
28   and each of them herein were, at all times relevant to the action, the owners,

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 1   franchisees, lessees, general partners, limited partners, agents, employees, employers,
 2   representing partners, subsidiaries, parent companies, successors, joint venturers
 3   and/or divisions of the remaining Defendants and were acting within the course and
 4   scope of that relationship. Plaintiff is further informed and believes, and thereon
 5   alleges, that each of the Defendants herein gave consent to, ratified, and/or authorized
 6   the acts alleged herein of each of the remaining Defendants.
 7         8.      Plaintiff is an otherwise qualified individual with a disability as provided
 8   in the Americans with Disabilities Act of 1990, 42 USC Section 12102, Part 5.5 of
 9   the California Health & Safety Code and the California Unruh Civil Rights Act,
10   Sections 51, et seq. and 52, et seq., the California Disabled Persons Act, Sections 54,
11   et seq. , and other statutory measures which refer to the protection of the rights of
12   "physically disabled persons." Plaintiff visited the public accommodation owned and
13   operated by Defendants for the purpose of availing himself of the goods, services,
14   facilities, privileges, advantages, or accommodations operated and/or owned by
15   Defendants.
16         9.      Plaintiff is informed and believes and thereon alleges that the subject
17   facility has been newly constructed and/or underwent remodeling, repairs, or
18   alterations since 1971, and that Defendants have failed to comply with California
19   access standards which applied at the time of each such new construction and/or
20   alteration. Modifications to make the subject facility accessible to disabled persons,
21   including persons who use wheelchairs, is readily achievable.
22         10.     Plaintiff has visited GROVERS TAVERN and intends to continue to
23   visit this place of public accommodation. Plaintiff has become aware of the
24   inaccessibility of this place of public accommodation and will continue in the future
25   to visit this place of public accommodation for the purposes of shopping and/or
26   otherwise using and enjoying the facility’s accommodations, and to evaluate the
27   facility’s accessibility to individuals with disabilities or to determine if other forms
28   of discrimination exist. Molski v. Price, 224 F.R.D. 479 (C.D. Cal. 2004). Plaintiff

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 1   actively enforces his rights as a disabled person to ensure that places of public
 2   accommodation adhere to the law’s requirements of providing access to persons with
 3   disabilities, including persons who use wheelchairs. As such he has filed
 4   approximately 10 or more construction-related accessibility lawsuits during the past
 5   12 months. The legislature had chosen to brand him as a “high frequency litigant”
 6   because of his lawful activities in enforcing his legal rights.
 7                                            III.
 8                                          FACTS
 9         11.    Plaintiff has a mobility impairment and uses a wheelchair. Moreover,
10   Plaintiff has had a history of or has been classified as having a physical impairment,
11   as required by 42 USC Section 12102(2)(A) and Civil Code section 54.
12         12.    On or about September 7, 2018, and continuing to the present, Plaintiff
13   was and has been denied full and equal access to the facilities owned and/or operated
14   by the Defendants because the property was inaccessible to members of the disabled
15   community who use wheelchairs for mobility. Said denial of full and equal access
16   occurred because of barriers which included, but were not limited to lack of
17   accessible parking space, and an accessible path of travel to the business entrance.
18   Plaintiff was also denied full and equal access because of discriminatory policies and
19   practices regarding accommodating people with disabilities.
20         13.    Plaintiff KAREL SPIKES lives in Spring Valley, California near Grovers
21   Tavern. On or about September 7, 2018, Plaintiff was invited by GROVERS
22   TAVERN to the SUBJECT PROPERTY. He visited the tavern and decided to
23   patronize it. Plaintiff drove to the SUBJECT PROPERTY but noticed there was no
24   designated accessible handicapped parking on the site. Nor was there an access aisle.
25   Nor was there any signs indicating that there was handicapped parking available.
26   Plaintiff believes there may be other violations of disability access laws and will
27   amend this complaint to state these violations if learned during the course of this
28   lawsuit.

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 1         14.    There are approximately seven parking spaces serving the facility.
 2         15.    There is no designated handicapped parking and there is no accessible
 3   path of travel to the facility entrance. Because of his disability and a total lack of
 4   accessible features, Plaintiff had difficulty parking and traveling to the facility
 5   entrance and was deterred from using the facility.
 6         16.    At all times stated herein, the existence of architectural barriers at
 7   defendants’ place of public accommodation constituted “actual notice” to Plaintiff of
 8   defendants’ intent not to comply with the Americans with Disabilities Act of 1990
 9   either then, now or in the future. Removal of said barriers is readily achievable.
10         17.     As of the date of this filing Defendants have refused to remedy the
11   unlawful barriers to access. As a result of Defendants' failure to remove architectural
12   barriers, Plaintiff suffered legally cognizable injury including, but not limited to,
13   difficulty, discomfort or embarrassment in accessing Defendants’ place of public
14   accommodation.
15         18.    The wrongful conduct of Defendants, unless and until enjoined by order
16   of this Court, will cause great and irreparable injury to Plaintiff in that Defendants'
17   failure to provide full and equal access to individuals with disabilities, including
18   Plaintiff, denies Plaintiff access to and use of the subject facility in violation of the
19   ADA Accessibility Guidelines and/or California's Title 24 Building Code
20   requirements, and/or other applicable Codes, statutes and/or regulations.
21         19.    Plaintiff alleges that Defendants will continue to operate a public
22   accommodation which is inaccessible to him and to other individuals with
23   disabilities. Pursuant to 42 USC §12188(a), Defendants are required to remove
24   architectural barriers to their existing facilities. Defendants are also required to
25   modify any discriminatory policies, practices and procedures to avoid discriminating
26   against people with disabilities, including Plaintiff.
27         20.    Plaintiff has no adequate remedy at law for the injuries currently being
28   suffered in that money damages will not adequately compensate him for the amount

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 1   of harm suffered as a result of exclusion from participation in the economic and social
 2   life of this state.
 3          21.     Plaintiff believes that architectural barriers, and discriminatory policies,
 4   practices and procedures, precluding him full and equal access of the public
 5   accommodation will continue to exist at his future visits, which will result in future
 6   discrimination of Plaintiff, in violation of the Americans with Disabilities Act.
 7   Plaintiff is currently being subjected to discrimination because Plaintiff cannot return
 8   to or make use of the facilities, goods and/or services offered by Defendants to the
 9   general public. Plaintiff seeks damages for each and every day that he was denied
10   access to the subject property or was deterred from attempting to attend the subject
11   place of public accommodation because of continuing barriers to full and equal
12   access.
13                                               IV.
14                            FIRST CLAIM FOR
                VIOLATION OF AMERICAN WITH DISABILITIES ACT
15                           42 USC §12101, et seq.
16          22.     Plaintiff re-alleges and incorporates by reference each and every
17   allegation contained in paragraphs 1 through 21, inclusive, as though set forth fully
18   herein.
19          23.     Plaintiff was denied full and equal access to Defendants' goods, services,
20   facilities, privileges, advantages, or accommodations within a public accommodation
21   owned, leased and/or operated by Defendants, in violation of 42 USC Section
22   12182(a). Plaintiff was, therefore, subjected to discrimination and is entitled to
23   injunctive relief pursuant to 42 USC Section 12188 as a result of the actions or
24   inaction of Defendants.
25          24.     Among other remedies, Plaintiff seeks an injunctive order requiring
26   compliance with state and federal access laws for all access violations which exist at
27   the property, requiring removal of architectural barriers and modification of policies,
28   practices and procedures, and other relief the Court may deem proper.

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 1         25.    Plaintiff also seeks any other order that will redress the discrimination
 2   to which he has been subjected, is being subjected and/or will be subjected.
 3                                              V.
 4                       SECOND CAUSE OF ACTION FOR
                     VIOLATION OF CAL. CIV. CODE §§51 et seq.
 5
           26.    Plaintiff re-alleges and incorporates by reference each and every
 6
     allegation contained in paragraphs 1 through 25, inclusive, as though set forth fully
 7
     herein.
 8
           27.    Plaintiff was denied full and equal access to Defendants' goods, services,
 9
     facilities, privileges, advantages, or accommodations within a public accommodation
10
     owned, leased and/or operated by Defendants, in violation of 42 USC Section
11
     12182(a). Plaintiff was, therefore, subjected to discrimination and is entitled to
12
     injunctive relief pursuant to California Civil Code sections 51, et seq. and damages
13
     pursuant to section 52, et seq., as a result of the actions or inaction of Defendants.
14
           28.    Among other remedies, Plaintiff seeks an injunctive order pursuant to
15
     Civil Code section 52 requiring compliance with state and federal access laws for all
16
     access violations which exist at the property, requiring removal of architectural
17
     barriers and modification of policies, practices and procedures, and other relief the
18
     Court may deem proper.
19
           29.    The actions of Defendants were and are in violation of the Unruh Civil
20
     Rights Act, California Civil Code Sections 51 et seq. and therefore Plaintiff is entitled
21
     to injunctive relief remedying all such violations of California access laws and
22
     standards. In addition, he is entitled to damages under California Civil Code Section
23
     52 for each offense. The amount of damages suffered by Plaintiff is not yet
24
     determined. When the amount is ascertained, he will ask the Court for leave to
25
     amend this complaint to reflect this amount. Plaintiff is also entitled to attorneys' fees
26
     and costs.
27
           30.    The actions of Defendants in violation of the Unruh Civil Rights Act and
28
     California Civil Code Sections 51 et seq. were willful and with conscious, deliberate
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 1   or reckless disregard for the rights of disabled persons such as Plaintiff and therefore
 2   Plaintiff is entitled to punitive and exemplary damages or treble damages pursuant to
 3   California Civil Code Sections 52, 54.3 and under common law principles.
 4         31.    Plaintiff also seeks any other order that will redress the discrimination
 5   to which he has been subjected, is being subjected and/or will be subjected except
 6   that Plaintiff specifically does not request relief pursuant to Civil Code section 55.
 7                                             VI.
 8                       THIRD CAUSE OF ACTION FOR
                 VIOLATION OF CALIFORNIA CIVIL CODE §54 et seq.
 9
           32.    Plaintiff re-alleges and incorporates by reference each and every
10
     allegation contained in paragraphs 1 through 31, inclusive, as though set forth fully
11
     herein.
12
           33.    Based on the facts plead hereinabove and elsewhere in this complaint,
13
     Defendants did, and continue to, discriminate against Plaintiff and persons similarly
14
     situated by denying disabled persons full and equal access to and enjoyment of the
15
     subject facility and of Defendants' goods, services, facilities, privileges, advantages
16
     or accommodations within a public accommodation, in violation of California Civil
17
     Code Section 54, et seq.
18
           34.    Defendants' actions constitute a violation of Plaintiff's rights under
19
     California Civil Code Section 54, et seq., and therefore he is entitled to injunctive
20
     relief remedying all such violations of California access laws and standards. In
21
     addition, he is entitled to damages under California Civil Code Section 54.3 for each
22
     offense. The amount of damages suffered by Plaintiff is not yet determined. When
23
     the amount is ascertained, he will ask the Court for leave to amend this complaint to
24
     reflect this amount. Plaintiff is also entitled to attorneys' fees and costs.
25
           35.    Plaintiff seeks all of the relief available to him under Civil Code Sections
26
     51, 52, et seq., 54, 54.1, 54.2, 54.3, and any other Civil Code Sections which provide
27
     relief for the discrimination suffered by Plaintiff, including damages and attorneys
28
     fees, except that Plaintiff specifically does not seek relief under Civil Code section
                                                                               Civil Complaint
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 1   55.
 2                                              VII.
 3                           FOURTH CAUSE OF ACTION FOR
                              VIOLATION OF HEALTH AND
 4                            SAFETY CODE §19955, ET SEQ.
 5          36.     Plaintiff re-alleges and incorporates by reference each and every
 6   allegation contained in paragraphs 1 through 35, inclusive, as though set forth fully
 7   herein.
 8          37.     Defendants' facilities are public accommodations within the meaning of
 9   Health and Safety Code Sections 19955, et seq., and Plaintiff is informed and believes
10   and thereon alleges that Defendants have newly built or altered the subject property
11   and/or the subject facility since 1971 within the meaning of California Health and
12   Safety Code Section 19959. The aforementioned acts and omissions of Defendants
13   constitute a denial of equal access to the use and enjoyment of the Defendants'
14   facilities by people with disabilities.
15          38.     Defendants' failure to fulfill their duties to provide full and equal access
16   to their facilities by people with disabilities has caused Plaintiff to suffer deprivation
17   of his civil rights, as well as other injuries.
18          39.     As a result of Defendants' violations of Health and Safety Code Sections
19   19955, et seq., described herein, Plaintiff is entitled to injunctive relief pursuant to
20   Health and Safety Code Sections 19953, and to reasonable attorney's fees and costs
21   except that Plaintiff specifically does not request relief pursuant to Civil Code section
22   55.
23                                              VIII.
24                FIFTH CAUSE OF ACTION FOR NEGLIGENCE PER SE
25          40.     Plaintiff re-alleges and incorporates by reference each and every
26   allegation contained in paragraphs 1 through 39, inclusive, as though set forth fully
27   herein.
28          41.     At all times relevant hereto, there was in effect the Americans with

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 1   Disabilities Act, California Civil Code Sections 51, et seq., California Civil Code
 2   Sections 54, et seq., and California Health and Safety Code Sections 19955, et seq.,
 3   all of which require that public accommodations and facilities provide services to
 4   people with disabilities which are equal to, and are not inferior to, the services
 5   provided to patrons who are not physically disabled.
 6         42.    Defendants owed Plaintiff a mandatory statutory duty to provide him full
 7   and equal access to accommodations, advantages, facilities, privileges and services
 8   of all business establishments. Plaintiff is a member of the class which these statutes
 9   are designed to protect.
10         43.    Defendants' acts or omissions alleged herein are a violation of statutory
11   requirements including, but not limited to, the Americans with Disabilities Act,
12   California Civil Code Sections 51, et seq., California Civil Code Sections 54, et seq.,
13   and California Health and Safety Code Sections 19955, et seq., and public policy, and
14   therefore constitute negligence per se.
15         44.    As a proximate result of the action or inaction of Defendants and each
16   of them, Plaintiff suffered the harm these statutes are designed to prevent, to wit,
17   exclusion from and/or unequal access to goods, services and facilities provided by
18   Defendants to the general public, as well as other injuries.
19         45.    Plaintiff seeks special and general damages and statutory damages
20   according to proof, as described more fully hereinabove.
21                                             IX.
22                 SIXTH CAUSE OF ACTION FOR NEGLIGENCE
23         46.    Plaintiff re-alleges and incorporates by reference each and every
24   allegation contained in paragraphs 1 through 45, inclusive, as though set forth fully
25   herein.
26         47.    Defendants had a duty to exercise ordinary care, as set forth more
27   specifically above.
28         48.    Defendants failed to exercise ordinary care, as set forth more specifically
     above.
                                                                              Civil Complaint
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 1         49.    As an actual and proximate result of Defendants' failure to exercise
 2   ordinary care, Plaintiff suffered general and special damages, as described more fully
 3   hereinabove.
 4                                             X.
 5         SEVENTH CAUSE OF ACTION FOR DECLARATORY RELIEF
 6         50.    Plaintiff re-alleges and incorporates by reference each and every
 7   allegation contained in paragraphs 1 through 49, inclusive, as though set forth fully
 8   herein.
 9         51.    An actual controversy now exists in that Plaintiff is informed and
10   believes and thereon alleges that Defendants' premises are in violation of the disabled
11   access laws of the State of California including, but not limited to, Civil Code
12   Sections 51, et seq., Sections 52, et seq., Sections 54, et seq., Health and Safety Code
13   Sections 19955, et seq., Government Code Sections 4450, et seq. and 7250, et seq.,
14   Title 24 of the California Code of Regulations, and/or Title III of the Americans with
15   Disabilities Act and Accessibility Regulations.
16         52.    A declaratory judgment is necessary and appropriate at this time so that
17   each of the parties may know their respective rights and duties and act accordingly.
18                                             XI.
19             EIGHTH CAUSE OF ACTION FOR INJUNCTIVE RELIEF
20         53.    Plaintiff re-alleges and incorporates by reference each and every
21   allegation contained in paragraphs 1 through 52 inclusive, as though set forth fully
22   herein.
23         54.    Plaintiff will suffer irreparable harm unless Defendants are ordered to
24   remove architectural barriers at Defendants' public accommodation, and/or to modify
25   their policies, practices and procedures regarding accommodating of people with
26   disabilities. Plaintiff has no adequate remedy at law to redress the discriminatory
27   conduct of Defendants. Plaintiff seeks an order enjoining violation of his rights to
28   access pursuant to California Civil Code section 52 and any other law which provides
                                                                              Civil Complaint
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 1   for injunctive relief to remedy the discrimination except that Plaintiff specifically
 2   does not seek any remedy by way of this Complaint for relief pursuant to California
 3   Civil Code section 55.
 4         55.    Plaintiff seeks injunctive relief to redress his injuries.
 5                                            XII.
 6                                     JURY DEMAND
 7         56.    Plaintiff hereby requests a jury trial.
 8                                         PRAYER
 9         WHEREFORE, Plaintiff prays for judgment against the Defendants,
10   ALEXANDER W. BROWN and SUMIKO BROWN, dba GROVERS TAVERN
11   MART; SUZANNE B. LEIF, Trustee of LEIF TRUST, and DOES 1 through 10, as
12   follows:
13         1.     An order enjoining Defendants from violating disabled access laws of
14                the United States of America and the State of California;
15         2.     That the Court declare the respective rights and duties of Plaintiff and
16                Defendants as to the removal of architectural barriers at Defendants'
17                public accommodation and/or as to the modification of discriminatory
18                policies, practices and procedures;
19         3.     An order awarding Plaintiff actual, special and/or statutory damages for
20                violation of his civil rights and for restitution including, but not limited
21                to, $4,000 in damages for each and every offense in violation of
22                Plaintiff’s right to be free from discrimination pursuant to the applicable
23                Civil Code Sections including, but not limited to, Sections 52 and /or
24                $1,000 in damages pursuant to Section 54.3 for each and every offense
25                of Civil Code Sections 51 and 54, respectively, and to include damages
26                for each occasion for which Plaintiff was deterred from accessing the
27                subject facility;
28         4.     An award of compensatory damages according to proof;
                                                                                Civil Complaint
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 1         5.   An award of punitive and exemplary damages according to proof;
 2         6.   An award of up to three times the amount of actual damages pursuant to
 3              the Unruh Civil Rights Act and the Disabled Persons Act; and
 4         7.   An order awarding Plaintiff reasonable attorneys' fees and costs;
 5         8.   Such other and further relief as the Court deems proper.
 6
 7   DATED: November 8, 2018             VANDEVELD LAW OFFICES
 8
 9
                                         s/Thomas J. Vandeveld III
10                                       THOMAS J. VANDEVELD, III
                                         Electronic Mail: tomvlawyer@cox.net
11                                       Attorney for Plaintiff KAREL SPIKES
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